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 7    L.A. T-SHIRT & PRINT, INC. dba RIOT SOCIETY
 8

 9                           UNITED STATES DISTRICT COURT
10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
      L.A. T-SHIRT & PRINT, INC., a          Case No.:
12    California corporation dba RIOT
13    SOCIETY                                   COMPLAINT FOR:
14
                Plaintiff,                      1. Trademark Infringement
15                                              2. Unfair Competition
          v.
16
                                                  JURY TRIAL DEMANDED
17    PRIMITIVE SKATEBOARDING, INC.,
      a California corporation; and DOES 1
18    through 10, inclusive,
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                Defendants.
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                                          -1-                           Complaint
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 1          Plaintiff, L.A. T-SHIRT & PRINT, INC. dba RIOT SOCIETY (“Plaintiff”),
 2    by and through its undersigned counsel, complaining of the defendants PRIMITIVE
 3    SKATEBOARDING, INC., a California corporation; and DOES 1 through 10,
 4    inclusive (collectively, “Defendants”), respectfully alleges as follows:
 5                               NATURE OF THE ACTION
 6          1.     Plaintiff creates and obtains rights to unique two-dimensional non-
 7    functional artworks which are transacted primarily in and through the apparel
 8    industry. Plaintiff owns these designs in exclusivity and exploits these designs for
 9    profit by selling products bearing the designs or entering into licensing agreements
10    for sale or display by third parties. Defendants have knowingly and intentionally
11    used one such design in the production of unauthorized goods which infringe
12    Plaintiff’s copyrights.
13                              JURISDICTION AND VENUE
14          2.     The Court has original subject matter jurisdiction over Plaintiff’s
15    federal claims arising under the Lanham Act 15 U.S.C. §§ 1051 et seq.
16          3.     This Court has personal jurisdiction over the Defendants because the
17    events or omissions giving rise to the claim occurred, the tortuous acts occurred, and
18    a substantial part of the injury took place and continues to take place, in this judicial
19    district and/or each of the defendants can be found in this judicial district.
20          4.     Venue is proper in the United States District Court for the Central
21    District of California on information and belief that: (a) this is a judicial district in
22    which a substantial part of the events giving rise to the claims occurred the tortuous
23    acts occurred, and a substantial part of the injury took place and continues to take
24    place; and (b) this is a judicial district in which Defendants may be found.
25                                       THE PARTIES
26          5.     Plaintiff L.A. T-SHIRT & PRINT, INC. (“Plaintiff”) is a California
27    corporation doing business as RIOT SOCIETY with its principal place of business
28    in the County of Los Angeles, State of California.

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 1          6.     Upon       information      and     belief,    defendant      PRIMITIVE
 2    SKATEBOARDING, INC. (“Defendant”) is, and at all times relevant was, a
 3    California corporation doing business within the jurisdiction of this Court.
 4          7.     Defendants DOES 1 through 10 are individuals and/or entities whose
 5    true names and capacities are presently unknown to Plaintiff. Plaintiff is informed
 6    and believes, and thereon alleges, that, at all times herein mentioned, each of the
 7    fictitiously named defendants was the agent, servant, and/or employee of his or her
 8    co-defendants and, in doing the things herein mentioned, was acting within the scope
 9    of his or her authority as such agent, servant, and/or employee, and with the
10    permission and consent of his or her co-defendants, and that each of said fictitiously
11    named defendants is, in some manner, liable or responsible to Plaintiff based upon
12    the facts hereinafter alleged and thereby proximately caused injuries and damages to
13    Plaintiff as more fully alleged herein. Accordingly, Plaintiff sues said defendants
14    by said fictitious names. At such time as said defendants’ true names and capacities
15    become known to Plaintiff, Plaintiff will seek leave to amend this Complaint to insert
16    said true names and capacities of such individuals and/or entities.
17                               FACTUAL BACKGROUND
18          8.     Plaintiff is in the garment industry and regularly sells garments bearing
19    its original designs. Plaintiff also regularly sells, licenses, or otherwise exploits its
20    designs to manufacturers, retailers, and other third parties.
21          9.     Plaintiff’s original designs include the following (the Design”):
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                                                 -3-                                 Complaint
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 1          10.     Since at least as early as September 2016, Plaintiff has used, and
 2    continues to use, the Design in commerce in connection with the sales of apparel,
 3    including, but not limited to, hats, hoodies, jackets, long-sleeved shirts, t-shirts, and
 4    tank tops, which have been offered and advertised for sale by Plaintiff on numerous
 5    outlets including but not limited to, Plaintiff’s website and social media pages as
 6    well as those of authorized third-party retailers.
 7          11.     In fact, Plaintiff owns United States Patent & Trademark Office
 8    (USPTO) Registration Number 6117159 for the Design in International Class 25 for
 9    “Hats; Hoodies; Jackets; Long-sleeved shirts; T-shirts; Tank tops”, with a date of
10    first use of September 2016, filing date of December 26, 2019, and issuance date of
11    August 4, 2020 (the “Registration”). A true and correct copy of the certificate for
12    the Registration is attached hereto as Exhibit A.
13                       DEFENDANTS’ INFRINGING CONDUCT
14          12.     In or around early to mid-2020, Plaintiff discovered that Defendant was
15    selling products, including but not limited to, hoodies and hats, that bear designs that
16    are nearly identical to and/or confusingly similar to Plaintiff’s Design (“Infringing
17    Products”).
18          13.     On or about February 28, 2020, Plaintiff, through its counsel, addressed
19    a letter to Defendant informing it of the Infringing Products. Plaintiff demanded,
20    among other things, that Defendant immediately cease and desist from distributing,
21    displaying, ordering, purchasing, manufacturing, offering for sale or advertising the
22    Infringing Products. Plaintiff also demanded that Defendant provide a written
23    accounting of the Infringing Products, provide the contact information for the
24    manufacturers, stores, websites, and companies used by Defendant in relation with
25    the Infringing Products, and provide copies of all sales receipts, invoices, customer
26    records, accounting records, and inventories of and relating to the Infringing
27    Products.
28          14.     Through counsel, Defendant responded to Plaintiff’s letter by letter

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 1    dated March 11, 2020. Nonetheless, to date, Defendant has failed and refused to
 2    provide the documents and information requested by Plaintiff and has otherwise
 3    failed and refused to comply with Plaintiff’s demands.
 4           15.   Defendant has advertised and sold Infringing Products throughout the
 5    United States, including but not limited to within this judicial district. Upon
 6    information and belief, Defendant continues to advertise and/or sell the Infringing
 7    Products.
 8                               FIRST CLAIM FOR RELIEF
 9                  (Trademark Infringement - Against All Defendants)
10           16.   Plaintiff hereby realleges and incorporates the allegations contained in
11    the preceding paragraphs as if fully set forth herein.
12           17.   Since at least as early as September 2016, Plaintiff has continuously
13    used its Design in commerce throughout the United States, including this judicial
14    district, in connection with and as a source identifier for Plaintiff’s goods and
15    services including, but not limited to, hats, hoodies, jackets, long-sleeved shirts, t-
16    shirts, and tank tops,
17           18.   As a result, Plaintiff has established trademark rights in its Design.
18           19.   In addition, Plaintiff owns the USPTO Registration for its Design.
19           20.   Defendants have made use of Plaintiff’s Design without Plaintiff’s
20    consent, knowledge, or authority.
21           21.   Defendants’ unauthorized use of Plaintiff’s Design in connection with
22    Defendants’ marketing and sales of the Infringing Products constitutes infringement
23    of Plaintiff’s trademark rights, misappropriates the valuable goodwill developed by
24    Plaintiff in the Design, and is likely to cause (and has actually caused) confusion,
25    mistake, and/or deception among the relevant public as to the source of Defendants’
26    goods and services or their affiliation, sponsorship or approval of Defendants’
27    Infringing Products by Plaintiff and/or Plaintiff’s business affiliates, advertisers, and
28    retailers.

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 1           22.    Defendants’ acts constitute the use in commerce of false designations
 2    of origin and false and/or misleading descriptions or representations, tending to
 3    describe and/or represent, in a false or misleading fashion, Defendants’ products as
 4    those of Plaintiff’s.
 5           23.    Plaintiff has earlier established, superior rights in its Design.
 6           24.    Defendants are aware of Plaintiff’s use and corresponding rights in the
 7    Design. Defendants’ aforementioned acts constitute the use of Plaintiff’s exact
 8    Design, and/or variations thereof, for identical or substantially similar goods and
 9    services, amounting to willful infringement of Plaintiff’s trademark rights.
10           25.    Defendants acts of willful infringement of Plaintiff’s rights in the
11    Design have caused and, unless restrained, will continue to cause great and
12    irreparable injury to Plaintiff, Plaintiff’s business, Plaintiff’s business relationship
13    with its retailers, and to the goodwill and reputation of Plaintiff, leaving Plaintiff no
14    adequate remedy at law.
15           26.    Defendants’ acts are the proximate cause of such injury and damage.
16           27.    By reason of the foregoing, Plaintiff is entitled to preliminary and
17    permanent injunctive relief against Defendants, and anyone acting in concert with
18    Defendants, to restrain further acts of infringement of Plaintiff’s rights and, after
19    trial, to recover any damages proven to have been caused by reason of Defendants’
20    aforesaid acts of infringement and any enhanced damages justified by the willful and
21    intentional nature of such acts.
22                              SECOND CAUSE OF ACTION
23         (Unfair Competition, California Business & Professions Code § 17200
24                                  – Against All Defendants)
25           28.    Plaintiff hereby realleges and incorporates the allegations contained in

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      the preceding paragraphs as if fully set forth herein.
             29.    Defendants’ conduct, as alleged herein, is unlawful and Defendants
27
      engaged in such conduct without privilege, justification or excuse.
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                                                 -6-                                    Complaint
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 1           30.   Defendants’ repeated acts of misconduct constitute an “unlawful, unfair
 2    or fraudulent business act or practice” in violation of California Business &
 3    Professions Code § 17200 et seq.
 4           31.   Defendants’ conduct has directly and proximately caused and will

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      continue to cause Plaintiff substantial and irreparable injury, including customer
      confusion, injury to its reputation, and diminution in value of its intellectual
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      property, and unless restrained, will continue to seriously and irreparably impair
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      further the value of Plaintiffs Design, for which there is no adequate remedy at law.
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             32.    In light of the foregoing, Plaintiff is entitled to an injunction under Cal.
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      Bus. & Prof. Code §§ 17200 et seq. restraining Defendants from engaging in further
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      such unlawful conduct, as well as restitution of those amounts unlawfully obtained
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      by Defendants through their wrongful conduct.
12
                                    PRAYER FOR RELIEF
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             WHEREFORE, Plaintiff respectfully demands the following relief against
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      Defendants, jointly and severally, with respect to each claim for relief:
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             a.    That Defendants, their agents and servants be enjoined from selling the
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      Infringing Products or otherwise infringing upon Plaintiff’s trademark rights in the
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      Design;
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             b.    That Plaintiff be awarded all profits of Defendants from sales of the
19
      Infringing Products plus all losses of Plaintiff, the exact sum to be proven at the time
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      of trial;
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             c.    That Plaintiff be awarded its attorneys’ fees; and
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            d.   Such other relief as the Court may deem appropriate.
23    Dated: December 7, 2020                    NOVIAN & NOVIAN, LLP
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25
                                               By:      /s/ Farhad Novian
                                                       FARHAD NOVIAN
26                                                     SHARON RAMINFARD
27
                                                       Attorneys for Plaintiff
28                                                     L.A. T-SHIRT & PRINT, INC.

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                       EXHIBIT A
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Reg. No. 6,117,159         L.A. T SHIRT & PRINT, INC. (CALIFORNIA CORPORATION)
                           2529 Chambers Street, Unit A
Registered Aug. 04, 2020   Vernon, CALIFORNIA 90028

                           CLASS 25: Hats; Hoodies; Jackets; Long-sleeved shirts; T-shirts; Tank tops
Int. Cl.: 25
                           FIRST USE 9-00-2016; IN COMMERCE 9-00-2016
Trademark
                           The color(s) red is/are claimed as a feature of the mark.
Principal Register
                           The mark consists of a red heart with an opening in the middle in the shape of a lightning
                           bolt; and the color white is not claimed as a feature of the mark and merely serves as
                           background

                           SER. NO. 88-739,682, FILED 12-26-2019
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        REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


     Requirements in the First Ten Years*
     What and When to File:


         • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
           and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
            the registration will continue in force for the remainder of the ten-year period, calculated from the
            registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


         • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
           an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
            §1059.


     Requirements in Successive Ten-Year Periods*
     What and When to File:

         • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
           between every 9th and 10th-year period, calculated from the registration date.*

     Grace Period Filings*

     The above documents will be accepted as timely if filed within six months after the deadlines listed above
     with the payment of an additional fee.

     *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
     an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
     Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
     (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
     date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
     those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
     registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
     underlying international registration at the International Bureau of the World Intellectual Property
     Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
     protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
     information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

     NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
     USPTO website for further information. With the exception of renewal applications for registered
     extensions of protection, you can file the registration maintenance documents referenced above online
     at http://www.uspto.gov.

     NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
     owners/holders who authorize e-mail communication and maintain a current e-mail address with the
     USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
     Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
     Forms available at http://www.uspto.gov.




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